                      Case 2:07-cr-00061-MHT-WC Document 468 Filed 07/22/10 Page 1 of 7
A0 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                         MIDDLE District of ALABAMA

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                  V.

              NUKAK EFFOING ASANANSI                                              Case Number:              2:07cr6 1-01 -MHT

                                                                                                               (WO)

                                                                                  USM Number                12747-002

                                                                                                            Tern Scott Bigg
                                                                                   Defendant's Attorney
THE DEFENDANT:

LI pleaded guilty to count(s)

Li pleaded nob contendere to count(s)
   which was accepted by the court.
X was found guilty on count(s)          is, 2s, 4s-7s of the Superseding Indictment on February 18, 2010
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section              Nature of Offense                                                 Offense Ended            Count
 18 Usc 1349                  conspiracy to Commit Bank, Wire and Mail Fraud                   March2006                   is
 18 USC 1344 and 2           Bank Fraud and Aiding and Abetting                                10/7/05                     2s
 18 USC 1344 and 2           Bank Fraud and Aiding and Abetting                                8/i 1/05                    4s
 18 USC 1344 and 2           Bank Fraud and Aiding and Abetting                                9/22/05                     5s
 18 USC 1344 and 2            Bank Fraud and Aiding and Abetting                               Sept. 2005                  6s
 18 USC 1344 and 2           Bank Fraud and Aiding and Abetting                                Nov. 2005                   7s
       The defendant is sentenced as provided in pages 2 through       7     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has been found not guilty on count(s)

X Count(s)       1, 2, and 8 of the Indictment             LI is      X are dismissed on the motion of the United States.
               8s of the Superseding Indictment             X is      Li are dismissed on the motion of the defendant.
         It is ordered that the defendant must notif' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notif' the court and United States attorney of material changes in economic circumstances.

                                                                             iY± PIQ
                                                                           Date of Imposition of Judgment




                                                                                  reu




                                                                           MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge
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A0 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                       Judgment - Page   2   of   7
DEFENDANT:                     NUKAK EFFOING ASANANSI
CASE NUMBER:                   2:07cr61-01-MHT


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


 85 Months. This sentence consists of terms of 85 months on each count to be served concurrently.




    fl The court makes the following recommendations to the Bureau of Prisons:




    X The defendant is remanded to the custody of the United States Marshal.

    O The defendant shall surrender to the United States Marshal for this district:
          0 at                                       0 a.m.      LI p.m.      on

          0 as notified by the United States Marshal.

    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          LI as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a    -                         --                     , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                        Case 2:07-cr-00061-MHT-WC Document 468 Filed 07/22/10 Page 3 of 7
AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment—Page      3     of --      7
DEFENDANT:                     NUKAK EFFOING ASANANSI
CASE NUMBER:                   2:07cr61-Ol-MHT
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 5 Years. This term consists of 5 years on each count to run concurrently.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 LI The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, f applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 D The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901 ,et seq.)
   as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, i/applicable.)

 LI The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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           (Rev. 09/08) Judgment in a Criminal Case
A0 245B
           Sheet 3C    Supervised Release
                                                                                            Judgment—Page    4-   of       7
DEFENDANT:                 NUKAK EFFOING ASANANSI
CASE NUMBER;               2:07cr61-01-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall provide the probation officer any requested financial information.
2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
3. In the event the defendant is deported because of this conviction, the term of supervised release shall be non-reporting
while he lives outside the United States. The defendant shall not illegally reenter the United States. If the defendant
reenters the United States during the term of supervised release, he shall report to the nearest U.S. Probation Office within 72
hours of arrival.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page     5      of
DEFENDANT:                         NUKAK EFFOING ASANANSI
CASE NUMBER:                       2:07cr61-01-MHT
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                         Fine                               Restitution
TOTALS             $ 600.00                                           $                                   $ $488,923.76


 9 The determination of restitution is deferred until               -. An Amended Judgment in a Criminal Case (A0245C) will be entered
     after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                       Restitution Ordered                     Priority or Percentage
Advanta                                                                              $43,716.00
700 Dresher Road
Horsham, PA 19044

Bank of America                                                                      $15,132.65
P.O. Box 4899
Atlanta, GA 30302

Chase Bank                                                                           $361,234.75
4900 Memorial Hwy
FL2-340 I
Tampa, FL 33634

Colonial Bancorp (dlb/a                                                              $86.33
BB&T)
1853 Data Dr.
Hoover, AL 35244



TOTALS                               $                                                488,923.76


U Restitution amount ordered pursuant to plea agreement $

9 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the             9 fine X restitution.
      9 the interest requirement for the              9 fine     9 restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 5B - Criminal Monetary Penalties
                                                                                                      Judgment—Page      6     of       7
DEFENDANT:                  NUKAN EFFOING ASANANSI
CASE NUMBER:                2:07cr61-01-MHT

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                             Priority or
Name of Payee                                                        Total Loss*            Restitution Ordered              Percentage
First National Bank of Brundidge                                                                   $313.62
P.O. Drawer 775
Brundidge, AL 36010

GAP Inc. Direct                                                                                      $235.41
5900 N. Meadows Dr.
Grove City, OH 43213

Wachovia Bank, John Tapley                                                                          $59,190.00
15 Jefferson St.
Alex City, AL 35010

Leslie Coleman                                                                                       $6,000.00

Barneys New York                                                                                     $3,015.00
1201 Valleybrook Ave.
Lyndhurst, NJ 07071




          * Findings for the total amount of losses are required under Chapters 109A, 110, 1 bA, and I 13A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
AO 245B
                      Case 2:07-cr-00061-MHT-WC Document 468 Filed 07/22/10 Page 7 of 7
           (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                          Judgment—Page        7     of          7
DEFENDANT:                  NUKAK EFFOING ASANANSI
CASE NUMBER:                2:07cr61-OI-MHT

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A X Lump sum payment of$ 489,523.76 -                        due immediately, balance due

                not later than                                    , or
           x in accordance               LII C,        D,    jJ     E, or X F below; or

 B LI Payment to begin immediately (may be combined with IJ C,                        LI D, or LI F below); or
 C    LI Payment in equal -                    (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                     (e.g., months or years), to commence        -        -- - (e.g., 30 or 60 days) after the date of this judgment; or

 D    L Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                      (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or

 E fl Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
      imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    X Special instructions regarding the payment of criminal monetary penalties:
        All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama Post
        Office Box 711, Montgomery, AL 36101. Any balance of restitution remaining at the start of supervision shall be paid at the rate
        not less than of $100 per month.




 Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      Nukak Effoing Asanansi 2:07cr61-0l-MHT - $488,923.76 Total Amount - $488,923.76 - Joint and Several Amount
      Somtochukwu Enyiom Ogbonna 2:O7cr6l-02-MHT - $488,923.76 Total Amount - $488,923.76 - Joint and Several Amount
      ALL PAYEES LISTED ON PAGES 5 AND 6 ARE CORRESPOND[NG PAYEES

 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
